                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MISSOURI

BOILERMAKER-BLACKSMITH                          )
NATIONAL PENSION TRUST and JOHN                 )
FULTZ as a Fiduciary of the                     )
BOILERMAKER-BLACKSMITH                          )
NATIONAL PENSION TRUST,                         )
                                                )
                       Plaintiffs,              )
                                                )
       vs.                                      )   Case No. 2:20-cv-__________
                                                )
FRENZELIT NORTH AMERICA, INC.,                  )
                                                )
                       Defendant.               )


                                           COMPLAINT

       Plaintiffs, Boilermaker-Blacksmith National Pension Trust (the “Pension Fund”) and John

Fultz as a fiduciary of the Boilermaker-Blacksmith National Pension Trust (collectively the

“Plaintiffs”), by their counsel, Tucker Arensberg, P.C., file the following Complaint against

Defendant Frenzelit North America, Inc. (“Frenzelit”):

                                      REQUEST FOR TRIAL

       1.      Pursuant to the Western District of Missouri Rules 3.2(c) and 38.1, the Plaintiffs

request a jury trial to be held in Kansas City, Missouri.

                                     NATURE OF THE ACTION

       2.      Plaintiffs bring this action under the Employee Retirement Income Security Act of

1974 (“ERISA”), as amended by the Multiemployer Pension Plan Amendments Act of 1980

(“MPPAA”), 29 U.S.C. §§ 1381–1405 and 1451, to compel Defendant Frenzelit, a former

contributing employer, and any current or former members of Frenzelit’s controlled group, to pay

withdrawal liability and additional statutory damages under 29 U.S.C. § 1132(g)(2).




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                                   JURISDICTION AND VENUE

       3.      This Court has federal question jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 because it arises under Sections 502(e) and 4301(c) of ERISA, 29 U.S.C. §§ 1132(e)(2)

and 1451(c).

       4.      Venue lies in this district under Sections 502(e)(2) and 4301(d) of ERISA, 29

U.S.C. §§ 1132(e)(2) and 1451(d), because the Pension Fund is administered in this district.

                                              PARTIES

       5.      Plaintiff Pension Fund is a multi-employer employee benefit pension plan within

the meaning of 29 U.S.C. §§ 1002(3) and 1002(37) that has been established pursuant to

Section 302(c)(5) of the Labor Management Relations Act (“Taft-Hartley Act”), 29 U.S.C. §

186(c)(5), and maintains its principal place of business at 12200 NW Ambassador Drive, Suite

326, Kansas City, Missouri 64163.

       6.      The Pension Fund is maintained for the purpose of providing retirement and

related benefits to eligible participants and beneficiaries.

       7.      Plaintiff John Fultz is a fiduciary of the Pension Fund within the meaning of

Section 3(21)(A) of ERISA, 29 U.S.C. § 1002(21)(A).

       8.      The Pension Fund is administered within this judicial District.

       9.      Upon information and belief, Defendant Frenzelit is a North Carolina corporation

which, at all relevant times, maintained its physical principal place of business at 4165 Old

Salisbury Road, Lexington, North Carolina 27295 and a mailing address of P.O. Box 185,

Lexington, North Carolina 27293.

                                          BACKGROUND

       10.     At all relevant times, the Pension Fund was a third-party beneficiary to at least

one collective bargaining agreement between Frenzelit and the International Brotherhood of

Boilermakers, Iron Ship Builders, Blacksmiths, Forgers and Helpers of America (“IBB”) (the

“Agreements”).

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        11.   Under the Agreement(s), Defendant Frenzelit was obligated to report and submit

contributions for the hours of covered work performed by its IBB employees to the Pension

Fund.

        12.   The Pension Fund determined that Defendant Frenzelit completely withdrew from

the Pension Fund under Section 4203(a) of ERISA, 29 U.S.C. § 1383(a), in December 31, 2015,

when it ceased having an obligation to contribute to the Pension Fund and permanently ceased

all covered operations under the Agreement(s), including cancellation of the National

Maintenance Agreement and that the amount of withdrawal liability attributable to Defendant

Frenzelit is $285,555.00.

        13.   In accordance with Sections 4202 and 4219 of ERISA, 29 U.S.C. §§ 1382 and

1399, the Pension Fund sent Defendant Frenzelit a Withdrawal Liability Notice and Demand

letter dated May 22, 2019 (the “Demand Letter”), attached as Exhibit A, stating that:

              a. Defendant Frenzelit triggered a complete withdrawal from the Pension Fund,
                 within the meaning of Section 4203 of ERISA, 29 U.S.C. § 1383;

              b. The amount of withdrawal liability attributable to Defendant Frenzelit is
                 $285,555.00;

              c. Defendant Frenzelit could discharge its withdrawal liability by making either
                 (i) a lump-sum payment to the Pension Fund in the amount of $285,555.00;
                 or (ii) forty (40) equal monthly payments of $7,764.45, followed by a final
                 monthly payment of $2,182.55; and

              d. Defendant Frenzelit’s first payment was due within 60 days from Defendant
                 Frenzelit’s receipt of the Demand Letter (i.e., on or before July 22, 2019).

        14.   Defendant Frenzelit made its first two monthly payments to the Fund under the

schedule set forth in the Demand Letter, but has failed to make any subsequent monthly

payments that have become due from September 2019 to present.

        15.   In accordance with Section 4219(c)(5) of ERISA, 29 U.S.C. § 1399(c)(5), the

Pension Fund sent Defendant Frenzelit a Default Letter dated October 4, 2019 (the “Default

Letter”), attached as Exhibit B, notifying Defendant Frenzelit of its failure to make the third

monthly payment under the Demand Letter and warning that if such failure was not cured within

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60 days (i.e., on or before December 4, 2019), the Pension Fund would file a federal lawsuit to

collect the withdrawal liability, plus all accrued interest, attorneys’ fees, liquidated damages, and

costs.

         16.    Defendant Frenzelit failed to cure its third missed payment on or before the

December 4, 2019 deadline. In fact, in addition to that payment, Defendant Frenzelit still has

not, to date, made any of the other payments that have since become due under the schedule in

the Demand Letter.

         17.    Defendant Frenzelit’s failure to cure in accordance with the Demand Letter

constitutes a default pursuant to Section 4219(c)(5)(A) of ERISA, 29 U.S.C. § 1339(c)(5)(A),

entitling the Pension Fund to immediate payment of the total outstanding amount of Frenzelit’s

withdrawal liability.

         18.    Defendant Frenzelit has waived its right to contest the Fund’s withdrawal liability

assessment.

         19.    Pursuant to Section 4221 of ERISA, 29 U.S.C. § 1401, arbitration of withdrawal

liability disputes is mandatory, and if an employer fails to initiate arbitration within the applicable

deadline, the amount demanded by the pension fund becomes due and owing.

         20.    Submitting a timely Request for Review under Section 4219(b)(2)(A) of ERISA,

29 U.S.C. § 1399(b)(2)(A), is a prerequisite to demanding arbitration under Section 4221 of

ERISA.

         21.    Under Section 4219(b)(2)(A) of ERISA, a contributing employer may, no later

than 90 days after receiving notice of the pension fund’s withdrawal liability assessment, request

the fund to review any specific matter relating to the determination of the employer’s liability and

the schedule of payments. Then, under Section 4219(b)(2)(B) of ERISA, the pension fund must

conduct a reasonable review of all matters raised in the employer’s request, although there is no

specific deadline for doing so.

         22.    An employer’s deadline to demand arbitration under Section 4221(a)(1) is based

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on the events described in the previous paragraph: the employer must demand arbitration after

the earlier of (a) 60 days from the pension fund’s Response to the employer’s Request for

Review under Section 4219(b)(2)(B) of ERISA, or (b) 180 days after the employer’s Request for

Review under Section 4219 (b)(2)(A) of ERISA.

       23.    Because Defendant Frenzelit received the Pension Fund’s Demand Letter on or

around May 22, 2019, Frenzelit was required to submit a Request for Review no later than

August 20, 2019.

       24.    Defendant Frenzelit did not send the Pension Fund a Request for Review by

August 20, 2019.

       25.    Because Defendant Frenzelit did not send the Pension Fund a Request for

Review by August 20, 2019, the Pension Fund did not issue a Response to the Request for

Review under Section 4219(b)(2)(B).

       26.    Defendant Frenzelit has therefore waived its right to dispute the Pension Fund’s

assessment of withdrawal liability through the mandatory arbitration procedure under Section

4221 of ERISA, 29 U.S.C. § 1401.

       27.    In addition to the $285,555.00 in principal withdrawal liability, the Pension Fund is

entitled to recover the following mandatory damages pursuant to Section 502(g) of ERISA, 29

U.S.C. § 1132(g)(2):

              a. interest at the rate provided in the Pension Fund’s Trust Agreement;

              b. the greater of (i) the same amount of interest in the preceding paragraph (i.e.,
                 a “double interest” penalty), or (ii) liquidated damages under the Pension
                 Fund’s Trust Agreement; and

              c. reasonable attorneys’ fees and costs.


       28.    Those damages are owed to the Pension Fund because, under Section 4301(b)

of ERISA, 29 U.S.C. § 1451(b), delinquent withdrawal liability payments are treated in the same

manner as delinquent contributions under Section 515 of ERISA, 29 U.S.C. §1145. In turn, the



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damages under Section 502(g)(2), 29 U.S.C. § 1132(g)(2) are mandatory when a pension fund

prevails in an action to compel delinquent contributions under Section 515 of ERISA.

        29.     Because these damages under Section 502(g)(2) will continue to increase as this

case progresses, the Pension Fund reserves its right to collect all such additional damages that

become due between now and the Court’s entry of judgment.


        WHEREFORE, Plaintiffs Boilermaker-Blacksmith National Pension Trust and John Fultz,

as a fiduciary of the Boilermaker-Blacksmith National Pension Trust, demand judgment against

Defendant Frenzelit for withdrawal liability in the amount of $285,555.00, plus accrued interest,

the greater amount of interest or liquidated damages, and reasonable attorneys’ fees and costs

incurred by the Pension Fund.

                                            Respectfully submitted,

                                            TUCKER ARENSBERG, P.C.

                                            /s/ Neil J. Gregorio
                                            Neil J. Gregorio, Esquire
                                            KS-001101
                                            ngregorio@tuckerlaw.com
                                            1500 One PPG Place
                                            Pittsburgh, PA 15222
                                            (412) 566-1212

                                            Counsel for the Plaintiffs, Boilermaker-Blacksmith
                                            National Pension Trust and John Fultz as a
                                            Fiduciary of the Boilermaker-Blacksmith National
                                            Pension Trust

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